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 Case 2:20-cv-00539-JCM-VCF Document 27 Filed 09/01/20 Page 4 of 5




IT IS SO ORDERED.


___________________________________
Cam Ferenbach
United States Magistrate Judge

         9-1-2020
Dated:_____________________________
           Case
           Case 2:20-cv-00539-JCM-VCF
                2:20-cv-00539-JCM-VCF Document
                                      Document 27
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                                                                 Page 5
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                                                                        of 5
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 1   DATED: ______________________                     DATED: ______________________

 2   FRANCISCO GARZA-VARGAS                            FRANCISCO GARZA-VARGAS

 3
     ______________________________                    ______________________________
 4   DAVID CHESNOFF                                    RICHARD SCHONFELD
     Counsel for Francisco Garza-Vargas                Counsel for Francisco Garza-Vargas
 5
     DATED: ______________________                     DATED: ______________________
 6
     FIVE AIRCORP. INC.                                FRANCISCO GARZA-VARGAS
 7

 8   ______________________________                    ______________________________
     Authorized Representative of                      FRANCISCO GARZA-VARGAS
 9   Five Aircorp. Inc., Plaintiff                     Plaintiff

10           August 26, 2020
     DATED: ______________________

11   NICHOLAS A. TRUTANICH
     United States Attorney
12   /s/ Daniel D. Hollingsworth
13   DANIEL D. HOLLINGSWORTH
     Assistant United States Attorney
14

15                                             ORDER

16          This Court having reviewed the Stipulation of the Parties, and good cause appearing,

17   hereby Orders that all terms of the Stipulation are adopted by the Court as though fully set

18   forth herein as an Order of this Court.

19

20

21                                                     IT IS SO ORDERED.

22

23                                                     ___________________________________
                                                       The Honorable James C. Mahan
24                                                     United States District Court Judge

25                                                     Dated: August , 2020.

26

27

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